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 Attorney or Party Name, Address, Telephone & FAX Nos.,                      FOR COURT USE ONLY
 State Bar No. & Email Address

 Andy C. Warshaw (263880)
 Financial Relief Law Center, APC                                                                        FILED & ENTERED
 1200 Main St., Suite C
 Irvine, CA 92614
 Phone: (714) 442-3319                                                                                           JAN 19 2023
 Email: awarshaw@bwlawcenter.com

                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY bolte      DEPUTY CLERK




      Individual appearing without attorney
      Attorney for: Debtor in Possession

                                         UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

 In re: 2nd Chance Investment Group, LLC                                     CASE NO.: 8:22-bk-12142-SC
                                                                             CHAPTER: 11

                                                                                    ORDER RE MOTION IN INDIVIDUAL
                                                                                    CHAPTER 11 CASE TO AUTHORIZE
                                                                                   DEBTOR-IN-POSSESSION TO EMPLOY
                                                                                         GENERAL COUNSEL
                                                                                           [11 U.S.C. § 327, LBR 2014-1]

                                                                                   No Hearing: LBR 9013-1(o)(3)
                                                                                   Hearing Information:
                                                                             DATE:
                                                                             TIME:
                                                                             COURTROOM:
                                                                             ADDRESS:


                                                              Debtor(s).


1. The court has considered The Debtor and Debtor in Possession’s Application To Employ Financial Relief Law Center,
   APC As General Bankruptcy Counsel Effective As Of The Petition Date (the “Motion”).

2. The Motion was:                   Opposed                  Unopposed                 Settled by stipulation

3. Based upon the motion and supporting documents, and the findings and conclusions made at the hearing if a hearing
   was held, IT IS ORDERED THAT:

    a.       The Motion is granted pursuant to 11 U.S.C. § 327 and the Debtor-in-Possession is authorized to employ:
             Financial Relief Law Center, APC (General Counsel) effective on December 21, 2022.

    b. General Counsel will seek compensation pursuant to 11 U.S.C.                           § 328 or          § 330

            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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          Case 8:22-bk-12142-SC                   Doc 25 Filed 01/19/23 Entered 01/19/23 11:45:51                                       Desc
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     c.       The Motion is denied.

4.          Notwithstanding 11 U.S.C. § 331, General Counsel may file interim fee applications in this case                                     days
            apart;

5.          General Counsel may use the procedures set forth in LBR 9013-1(o) regarding Notice of Opportunity to
            Request Hearing when requesting approval of interim fee applications in this case; and

6.          Other (specify):




                                                                          ###




                Date: January 19, 2023




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